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                                IN THE UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF MISSOURI
                                       SOUi HEASTERN DIVISION


 UNITED STATES OF AMERICA,                         )
                                                   )
                   Plaintiff,                      )
                                                   )
        vs.                                        ) No. I :20MJ4087 ACL
                                                   )
 NlCHOLAS J. PROFFITT.                             )
                                                   )
                   Defendant.                      )


                    MOTION FOR PRE-TRIAL DETENTION AND HEARING
               ,
        Comes now the United States of America, by and through its attorneys, Jeffrey B. Jensen,

 United States Attorney for the Eastern District of Missouri, and Keith D. Sorrell, Assistant

 United States Attorney for said District, and moves the Court to order defendant detained

 pending trial, and further re.quests that a detention hearing be held three (3) days from the date of

 defendant's initial appearance before the United States Magistrate Judge pursuant to Title 18,

 United States Code, Section 3141 , et seq.

        As and for its grounds, the Government states as follows:

         I.        Defendant is charged with Arson of Building Affecting Interstate Commerce, in

 violation of Title 18. United States Code, Section 844(i ).

        2.         Accordingly, a rebuttable presumption arises pursuant to Title 18, United States

 Code, Section 3142(e)(3) that there are no conditions or combination of conditions which will

 reasonably assure the appearance of the defendant as required, and the safety of any other person

 and the community.

        J.         There is a serious risk that the defendant will flee.
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         4.      The defendant is a threat to the community.

         WHEREFORE, the Government requests this Court to order defendant detained prior to

  trial, and further to order a detention hearing three (3) days from the date of defendant's initial

  appearance.

                                                 Respectfully submitted,


                                                 JEFFREY B. JENSEN
                                                 UNITED ST ATES ATTORNEY


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